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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )            8:06CR153
                       Plaintiff,                     )
                                                      )           REPORT AND
       vs.                                            )
                                                      )       RECOMMENDATION
FELIPE PEDRAZA RUIZ,                                  )
                                                      )        ON GUILTY PLEA
                       Defendant.                     )


       On August 18, 2006, defendant Felipe Pedraza Ruiz (Ruiz), together with his
counsel, William L. Switzer, Jr., appeared before the undersigned magistrate judge and
was advised of the charges, the penalties and the right to appear before a United States
District Judge. After orally consenting to proceed before a magistrate judge, Ruiz entered
a plea of guilty to Count VI of the Indictment.
       After being sworn, Ruiz was orally examined by the undersigned magistrate judge
in open court as required by Federal Rule of Criminal Procedure 11. Ruiz also was given
the advice required by that Rule. Finally, Ruiz was given a full opportunity to address the
court and ask questions.
       Counsel for the government and counsel for Ruiz were given the opportunity to
suggest additional questions by the court. Moreover, Ruiz’s counsel orally certified that he
was of the opinion that the plea was knowing, intelligent and voluntary, and that there was
a factual basis for Ruiz’s plea of guilty to Count VI of the Indictment.
       Therefore, I find and conclude that: (1) the plea is knowing, intelligent, and voluntary;
(2) there is a factual basis for the plea; (3) the provisions of Rule 11 and any other
provisions of the law governing the submission of guilty pleas have been complied with; (4)
a petition to enter a plea of guilty, on a form approved by the court, was completed by Ruiz,
Ruiz’s counsel and counsel for the government, and such petition was placed in the court
file (Filing No. 83); (5) the plea agreement is in writing and is filed in the court file (Filing No.
84); (6) there were no other agreements or stipulations other than as contained in the
written plea agreement.
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       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
       1.     She accept the guilty plea and find the defendant, Felipe Pedraza Ruiz, guilty
of the crime set forth in Count VI of the Indictment to which Ruiz tendered a guilty plea;
       2.     She accept the written plea agreement with the understanding that the court
is not bound by the parties’ stipulations, but may with the aid of the presentence report,
determine the facts relevant to sentencing.


                                       ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) days after being served with a copy of
this Report and Recommendation. Failure to timely object may constitute a waiver of any
such objection. The brief in support of any objection shall be filed at the time of filing such
objection.   Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       DATED this 18th day of August, 2006.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge




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